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                                                     Comstock Public Schools
                                               Eastern Service Area - 3010 Gull Road
                                                 Kalamazoo, Michigan 49048-9223
                                                       Phone: 269-250-8920

                          INDIVIDUALIZED EDUCATION PROGRAM (IEP) TEAM REPORT
  Date of IEP                           Date of IEP                              Date of Most Recent
  Team Meeting: 05/13/2021              O er of FAPE: 05/13/2021                 Evaluation IEP: 02/27/2020
  Student Name: Ke'aujanaa Janielle
                                        Home Phone: (269)532-9011
  Shepherd-Friday
  Student's Address: 1716 Woodward Ave,
                                        State: Michigan                         Zip Code: 49007
  Kalamazoo
  County:                               Resident District for Purpose of FAPE: Comstock
  Student Primary Language:             Language in the Home: English
  Birthdate: 07/15/2002                 Age: 18-10                               Grade: Twelfth grade
                                                                  PURPOSE
  Purpose of IEP Team Meeting: Annual Review
                                                               PARTICIPANTS
     Student: Ke'aujanaa Janielle Shepherd-Friday                           Parent/Guardian: Natasha Shepherd
     General Ed Teacher: Dawn Krasts                                        Parent/Guardian:
     Special Ed Provider: Peggy Kurpinski                                   School District Rep: Lindsay Clark, teacher consultant
     Eval Team Rep: Laura Henly                                             Other/Title: Rida Jones, SSW
     (the individual who can interpret the instructional
     implications of evaluation results)
     Other/Title: Janan Zimmerman                                           Other/Title: Brian Deller
     Other/Title: Jay Birchmeijer, principal                                Other/Title: George White, advocate
                                                   STUDENT PROFILE AND ELIGIBILITY
  In determining both eligibility and need for special education programs/services, the IEP Team must consider each of the
  following:

  Student Strengths
  Ke'aujanaa is a young woman with a lot of potential. She is very easy to talk with, and has a lot of interest outside of school. She
  loves drawing and journaling. She has a big plan for her life, and how to help others.

  Parent/Guardian Concerns
  The teacher consultant reached out to mom, her concerns included: her daughter's overall education, when is graduation, how is
  she in terms of credits, and overall communication between the school and her daughter. Mom would like to streamline
  communication, so her daughter can progress towards graduation more quickly.

  Current Evaluations
  ESTR-J (Fall 2020, sta attempted to contact her prior to the May 2021 IEP, in order to update data)
  BASC-3
  ABAS
  KTEA-3

  Based on 1) Ke'aujanaa's current functioning, 2) the most recent evaluation ndings and 3) any additional assessment
  information, does the IEP Team determine that this student has a disability that requires special education programs/services?

      Yes, Ke'aujanaa is eligible for special education

            Primary Disability     Qualifying Criteria            Qualifying Criteria                Medical Diagnosis
            Other Health           Limited alertness to education                                    Sickle Cell Disease (SCD)
            Impairment             Limited vitality                                                  Sickle Cell Disease (SCD)
                                   Limited strength                                                  Sickle Cell Disease (SCD)

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  Student Name: Ke'aujanaa Janielle Shepherd-Friday                                                                       IEP Date: 05/13/2021

                                           Secondary Transition Considerations
  Transition Assessments Completed:                                      Date of Most Recent Assessment: 09/23/2020

  Assessments                    Student/Parent Input                                School Observation Data
                                                                                     Transcripts
                                 Student Interview                                   Grades
  ESTR-J revised
                                 Parent Interview                                    Attendance Records
                                                                                     Phone Logs

  Date of Educational Development Plan (EDP): 09/23/2020

  If student did not attend IEP, describe steps taken to ensure consideration of student's preferences/vision:



                           Student’s Post-Secondary Vision and Transition Activities
  Career/Employment: As an adult, what kind of work will you do?
  After nishing school, Ke'aujanaa will attend KVCC and become a Respiratory Therapist.

  Career/Employment Assessment Results: Present level assessment related to this vision statement.
  When given the Enderle-Severson Transition Rating Scale - Form J -Revised (ESTER-J - Revised) in September 2020, Ke'aujanaa
  scored a score of 92.3% with 11/12 positive responses.

  Areas of Strength:
  Good Attendance
  Appropriate hygiene and grooming
  Punctual
  Need to eventually support himself
  Responds to authority gures
  Demonstrates an understanding that di erent jobs required varying levels of training
  Demonstrated an understanding of factors that in uence job retention, dismissal, and promotion
  Able to access various resources for assistance in job searching
  Demonstrates the necessary interpersonal skills to work with others
  Demonstrates the skills necessary to perform successfully a job interview
  Has realistic expectations of his vocational potential
  Has had successful community-based work experience
  Has accurately lled out a job application

  Areas of Growth:
  Need to complete a vocaonal potential interest survey

  Is there a need for activities or services for Career/Employment?                Yes    No

                                             Explanation of
            Type of Activity                                             Responsible Agency/Persons           Expected Completion Date
                                             activity/service

                                     Ke'aujanaa will researcher
                                                                         student
       Functional Vocational         chosen career including pay,
                                                                         parents                                          05/12/2022
            Evaluation               education, and potential
                                                                         teacher
                                     employment possibilities.

  Post-Secondary Education/Training: Upon completion of services, what additional education and training will you do?
  After nishing school, Ke'aujanaa will attend KVCC (Kalamazoo Valley Community College).

  Post-Secondary Education/Training Assessment Results: Present level assessment related to this vision statement.
  When given the Enderle-Severson Transition Rating Scale - Form J-Revised (ESTER-J-R) in September 2020, Ke'aujanaa scored 38
  % on the "Post Secondary Education" subsection of the survey. with 3/8 questions answered in the positive.

  Areas of Strength:
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  She demonstrates self-awareness and self-con dence

  Areas of Growth:
  Made plans for post-secondary housing options
  Identi es post-secondary options
  learn how to arrange for training, housing, nancial assistance and employment after completing training.

  Is there a need for activities or services for Post-Secondary Education/Training?                Yes      No

                                             Explanation of
            Type of Activity                                             Responsible Agency/Persons           Expected Completion Date
                                             activity/service

                                     Ke'aujanaa will attend a KVCC
                                     Starting Smart section. This is     Student
               Instruction           a returning goal, due to it not     Parent                                           05/12/2022
                                     being able to be completed in       Teacher
                                     the previous year.

  Adult Living: As an adult, what kind of living arrangements will you have?
  After nishing school, Ke'aujanaa will move to a warmer climate because the cold a ects her health, and will live with her friend
  or alone in a condo.

  Adult Living Assessment Results: Present level assessment related to this vision statement.
  When given the Enderle-Severson Transition Rating Scale - Form J-Revised (ESTER- -J- R) in September 2020, Ke'aujanaa scored
  74% on the "Home/Living" subsection of the survey.
  The following score on the Enderle-Severson Transition Rating Scale Form-J Revised Home Living Domain: 11/15 (74%)

  Areas of Strength:
  Is able to use the phone
  Dresses appropriately for speci c situations
  Performs household cleaning/laundry
  Safely performs light household maintenance
  Demonstrates the qualities of a good citizen
  Understands concepts related to sexual awareness
  Treats minor medical problems, performs basic rst aid and knows how to seek medical assistance
  Performs written correspondence
  Responds to household emergency situations
  Understands nutrition and is able to plan balanced meals
  Understands basic parenting skills
  Is able to prepare and serve foods that require a variety of cooking procedures

  Areas of Need;
  learn about checking and savings accounts, credit cards and budgets
  Learn to manage money responsibility

  Is there a need for activities or services for Adult Living?          Yes     No

                                             Explanation of
            Type of Activity                                             Responsible Agency/Persons           Expected Completion Date
                                             activity/service

                                     Ke'aujanaa will practice
                                     budgeting and money                 Ke'aujanaa, Parent(s), and
            Daily Living Skills                                                                                           05/12/2022
                                     management, using the salary        Teachers
                                     of a respiratory therapist.

  Community Participation: As an adult, how will you want to be involved in your community?
  After nishing school, Ke'aujanaa will get around the community on her own, including going to restaurants and stores of her
  choosing.

  Community Participation Assessment Results: Present level assessment related to this vision statement.
  When given the Enderle-Severson Transition Rating Scale - Form J-Revised (ESTER- J-R ) in September 2020 Ke'aujanaa score 29%
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  on the "Community Participation" subsection of the survey, answering 2/7 questions in the positive.

  Areas of Strength:
  Demonstrates appropriate social behaviors in the community
  Can get around in the community

  Areas of need include:
  using local resources
  learning to comparison shop
  Demonstrates understands of cost-saving techniques
  learning about housing options, insurance and paying for large purchases
  Demonstrates a basic understanding of basic insurance needs

  Is there a need for activities or services for Community Participation?                Yes    No

                                             Explanation of
            Type of Activity                                             Responsible Agency/Persons           Expected Completion Date
                                             activity/service

                                     Student will obtain her drivers     student
              Adult Living                                                                                                05/12/2022
                                     license                             parents



                                                           Course of Study
  Describe how the student's course of study aligns with the postsecondary vision:
  Ke'aujanaa is working towards her general education degree. She currently has 7 credits. She will minimally need to earn the
  following credits:
  English- 2 credits
  Math- 2 credits
  Science-2 credits
  Social Studies- Government Credit, along with 2.5 additional credits
  PE-1 credit
  Health- 1 credit

   Check Only One:
       Michigan Merit Curriculum leading to a high school diploma.
       Course of Study leading to Certi cate of Completion

  Is Ke'aujanaa expected to graduate with a Regular Diploma during this IEP year?              Yes    No

  Will Ke'aujanaa complete age eligibility for Special Education services?         Yes     No



                                              Community Agency Involvement
  Was there a need to invite a community agency representative likely to provide current or future services?    Yes    No
  Please provide a rationale for determining that there is no need to invite a community agency: No services were requested at
  this time. The school has attempted to work with student and family on engaging student but due to illness, student has not
  been able to participate.
  Did parent invite a community agency representative?



                                            Parental Rights and Age of Majority
  Check only one:
       The student has turned age 18 and the student and parent were informed of parental rights that were transferred to the
       student at age 18, including the right to invite a support person such as a parent, advocate, or friend.



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  Student Name: Ke'aujanaa Janielle Shepherd-Friday                                                                       IEP Date: 05/13/2021

            PRESENT LEVEL OF ACADEMIC ACHIEVEMENT AND FUNCTIONAL PERFORMANCE
  Progress on most recent goals and objectives?
  Medical: According to the doctors note provided on 1-27-20, Ke'aujanaa su ers from sickle cell disease, as well as pulmonary
  hypertension. Due to these diagnosis she requires: medications, IV pain medicine, and oxygen at times. Due to her SCD, she
  often requires hospitalization and frequent doctor visits that create di culty participating in school. As her original IEP states,
  this impacts her strength, vitality, and alertness. Her doctor notes: " oxygen can be a requirement, and her alertness can be
  a ected due to her need for pain medication. Some activity can be tolerated, and oxygen should be available at all times." (Dr.
  Katherine Scott, MD)

  Academic: Reading (from her 2020 evaluation)
  Basic reading skills start with understanding of phonics and phonemic awareness followed by the polishing and uency of word
  reading and reading uency. These basic skills evolve into 3 reading comprehension and the complex ability to think about what
  is read and apply it to other events. For Ke'aujanaa, she has good basic reading abilities and can utilize skills to appropriately
  comprehend what she is reading. She does lack some understanding of higher level vocabulary, but this was not shown to
  impede her reading abilities.

  Mathematics
  Foundational math skills involve number concepts and fact recognition. This evolves into math facts uency and uidity with
  math operations culminating in mathematical problem solving of word problems, multi-step processes, and abstract math
  theory such as algebra and geometry. In Ke'aujanaa's case, her math skills are a bit more challenging for her. She can do
  appropriate calculation, but has a much harder time when it comes to the conceptual skills related to math. She struggles with
  multi-step problems, algebraic and fraction concepts, and word problems. At this time, these skills are below average for a
  student her age.

  Adaptive Behavior (from her 2020 evaluation) Ke'aujanaa and her mother were given the Adaptive Behavior Assessment System,
  3rd Edition (ABAS-3) in order to assess her adaptive functioning. Both Ke'aujanaa and her mother rated her adaptive skills as
  average in all areas and no de cits were seen. Based on observations from the psychologist, she would agree that Ke'aujanaa's
  adaptive skills are appropriate at this time.

  Emotional Functioning
  Ke'aujanaa completed the self-report of the Behavior Assessment for Children, Third Edition (BASC-3) which evaluates her
  behavioral functioning. Ke'aujanaa's scores on the BASC-3 showed her to be in the At-Risk range for atypicality (occasionally
  having unusual thoughts and perceptions), locus of control (sometimes having little control over events occurring in her life),
  social stress, and depression. She fell within the Clinically signi cant range for anxiety, sense of inadequacy (being dissatis ed
  with 4 her ability to perform a variety of tasks even when putting forth substantial e ort), and somatization (experiencing
  numerous health-related problems). Given her extensive health history, these results are in line with children who experience
  chronic illness.

  Due to Ke'aujanaa's recent health, the global pandemic, and Comstock's inability to contact Ke'aujanaa or her mother on a
  consistent basis, she has made no progress on her previous IEP goals/objectives. The team has attempted to contact her via
  phone, text, email, through relatives, and completed home visits. She has not been present at Compass or attended any virtual
  classes since our previous IEP.


                       Area of Need                                        Subarea of Need                                   Goal?
  Reading                                                   Comprehension & Vocabulary
  Data Sources and Description of Need
  Grades and report cards
  Progress reporting
  Teacher observations
  Work completing and missing assignment reporting
  Kaufman Test of Educational Achievement—Third Edition (KTEA-III)

  Academic: Reading (from her 2020 evaluation)

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  Basic reading skills start with understanding of phonics and phonemic awareness followed by the polishing and uency
  of word reading and reading uency. These basic skills evolve into 3 reading comprehension and the complex ability to
  think about what is read and apply it to other events. For Ke'aujanaa, she has good basic reading abilities and can utilize
  skills to appropriately comprehend what she is reading. She does lack some understanding of higher level vocabulary,
  but this was not shown to impede her reading uency abilities. Fundamental skills required in e cient reading
  comprehension are knowing meaning of words, ability to understand meaning of a word from discourse context, ability
  to follow organization of passage and to identify antecedents and references in it, ability to draw inferences from a
  passage about its contents, ability to identify the main thought of a passage, and ability to answer questions answered
  in a passage. For Ke'aujanaa, assistance with these comprehension skills will increase her reading abilities.
  Adverse Impact
  This will make it di cult for the student to complete some tasks in the general curriculum at their grade level involving reading.
                       Area of Need                                         Subarea of Need                               Goal?
  Mathematics                                               Numbers and Operations
  Data Sources and Description of Need
  Grades and report cards
  Progress reporting
  Teacher observations
  Work completing and missing assignment reporting
  Kaufman Test of Educational Achievement—Third Edition (KTEA-III)

  Mathematics
  Foundational math skills involve number concepts and fact recognition. This evolves into math facts uency and uidity
  with math operations culminating in mathematical problem solving of word problems, multi-step processes, and
  abstract math theory such as algebra and geometry. In Ke'aujanaa's case, her math skills are a bit more challenging for
  her. She can do appropriate calculation, but has a much harder time when it comes to the conceptual skills related to
  math. She struggles with multi-step problems and word problems. At this time, these skills are below average for a
  student her age.

  Adverse Impact
  Ke'aujanaa's di culties with math problem-solving will impact her abilities to complete appropriate grade level
  materials, and interfere with her potential career choice as a respiratory therapist.
                       Area of Need                                         Subarea of Need                               Goal?
  Socio-Emotional/Behavioral                                Anxiety
  Data Sources and Description of Need
  ESTR-J Data
  School Attendance/Grades
  Parent Interview
  Behavioral Assessment System for Children, 3rd Edition (BASC3)
  Adaptive Behavior Assessment System (ABAS)

  Ke'aujanaa completed the self-report of the Behavior Assessment for Children, Third Edition (BASC-3) which evaluates her
  behavioral functioning. Ke'aujanaa's scores on the BASC-3 showed her to be in the At-Risk range for atypicality (occasionally
  having unusual thoughts and perceptions), locus of control (sometimes having little control over events occurring in her life),
  social stress, and depression. She fell within the Clinically signi cant range for anxiety, sense of inadequacy (being dissatis ed
  with her ability to perform a variety of tasks even when putting forth substantial e ort), and somatization (experiencing
  numerous health-related problems). Given her extensive health history, these results are in line with children who experience
  chronic illness. In order to overcome these di cult areas, Ke'aujanaa needs direct support through social work services, to be
  taught coping strategies for times of heightened anxiety, and given tools how to manage her medical condition when it interferes
  with her learning.
  Adverse Impact
  Ke'aujanaa's lack of access to skills to assist her with the anxiety she experiences may impact her ability to meet with success in
  the school environment.
                       Area of Need                                         Subarea of Need                               Goal?
  Medical/Health/Physical                                   self-advocacy
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  Data Sources and Description of Need
  Ke'aujanaa may need to request and advocate for herself when accommodations are need related to her illness such as;
  continual access to water, frequent bathroom breaks, and request a change in location due to extreme temperatures. Due to her
  illness and COVID, Ke'aujanaa has not been able to build become with comfortable with sta , therefore it may be di cult or
  uncomfortable for her to request and/or share her needs.
  Adverse Impact
  The ability to advocate is an important skill to assist one to be successful and she will learn to vocalize her needs.
                         Area of Need                                      Subarea of Need                                Goal?
  Transition (age 16+)                                      Transition
  Data Sources and Description of Need
  When given the Enderle-Severson Transition Rating Scale - Form J-Revised (ESTER- J-R ) in September 2020 Ke'aujanaa score 29%
  on the "Community Participation" subsection of the survey, answering 2/7 questions in the positive.

  Areas of Strength:
  Demonstrates appropriate social behaviors in the community
  Can get around in the community

  Areas of need include:
  using local resources
  learning to comparison shop
  Demonstrates understands of cost-saving techniques
  learning about housing options, insurance and paying for large purchases
  Demonstrates a basic understanding of basic insurance needs
  Adverse Impact
  The ability to plan for ones future, have the basic skills to live/work independently, and using cost-saving techniques need to be
  addressed in order for Ke'aujanaa to be successful in a post-secondary setting.




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  Student Name: Ke'aujanaa Janielle Shepherd-Friday                                                                       IEP Date: 05/13/2021

                         SPECIAL FACTORS, SUPPLEMENTARY AIDS AND ASSESSMENTS
     Supports and Modi cations to the Environment, Behavior Training Needs, Social Interaction Supports for the Student, Health-
     Related Needs, Physical Needs, Transition aids and supports are provided to enable the student:
         To advance appropriately toward attaining the annual goals.
         To be involved and progress in the general education curriculum and to participate in extra-curricular and other
         nonacademic activities.
         To be educated and participate in activities with other students with disabilities and nondisabled students.


  The IEP team must consider the following areas of need for each student.
     For the areas of need below, does Ke'aujanaa Janielle Shepherd-Friday require supports and/or services due to?
               Yes      No Communication needs
               Yes      No Need for assistive technology devices and services.


  The IEP team must consider the following for the student, as appropriate.
            The use of positive behavioral interventions and supports, and other strategies, to address behavior because the student
            has behavior that impedes his or her learning or the learning of others.
            The language needs of the student because the student has limited English pro ciency.
            Braille instruction because the student is blind or visually impaired.
            The mode of language and communication because the student is deaf or hard of hearing.


      Supplementary aids and services are needed at this time.


      Supplementary Aids/Program                           Frequency/Timeline                                      Location
     Modi cations/Support for School
               Personnel
  Tests read out loud                                    All subjects, daily, when                         Academic Environment
                                                  assignments/assessments are beyond
                                                 Ke'aujanaa's independent working level
  Access to water                               Permit water for hydration throughout the             Throughout school environment
                                                               school day
  When receiving medical treatments-                             all subjects                              Academic Environment
  deadlines/tests/assignments will follow a                      as needed
  timeline discussed between
  administrators/teachers/and the student
  Access to restroom                                Upon student request and/or sta                   Throughout school environment
                                                     recommendation or prompting
  Ability to change location during extreme         Upon student request and/or sta                   Throughout school environment
  temperatures and conditions                        recommendation or prompting
  Frequent breaks                                when student is feeling fatigued, due to                  Academic Environment
                                                           medical reasons
  Extended time on assignments (per               up to two weeks, unless medical notes                    Academic Environment
  teacher/student agreement)                            require additional services
  Access to audio versions of all grade level       Upon student request and/or sta                        Academic Environment
  textbooks, when available.                         recommendation or prompting


                                                        STATE ASSESSMENTS
     Are state assessments required for the grade level(s) covered by this IEP?                                                Yes     No




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  Student Name: Ke'aujanaa Janielle Shepherd-Friday                                                                       IEP Date: 05/13/2021

                                                      GOALS AND OBJECTIVES
  Area of Need: Reading                                                 Subarea: Comprehension & Vocabulary




  Annual Goal:
  By her next IEP, in May of 2022, she will read a 7th grade level reading passage, Ke'aujanna will answer comprehension questions
  at 66% accuracy in 2 out of 3 trials, as shown by teacher created assessment.

 Will a graph be used to report progress toward the annual goal and associated objectives/benchmarks?                 Yes       No


 Short-Term Instructional Objectives/Benchmarks:
                     Objectives/Benchmarks                            Criteria                 Evaluations                     Schedule
         Ke'aujanna will read a 6th grade passage and
                                                                                             teacher created
       1 answer questions with 66% accuracy, by                         66%                                               each marking period
                                                                                               assessment
         October 2021.
         Ke'aujanna will read a 6th grade passage and
                                                                                             teacher created
       2 answer questions with 80% accuracy, by                         80%                                               each marking period
                                                                                               assessment
         February 2022.
         Ke'aujanna will read a 7th grade passage and
                                                                                             teacher created
       3 answer questions with 66% accuracy, by May                     66%                                               each marking period
                                                                                               assessment
         2022.
       4


 Sta       Responsible for Goal: Teacher Consultant

 How will progress on goals and objectives be reported
       Progress Reporting-Text Option
       Progress Reporting-Other Option (Specify):

 Comments:

 When will progress on goals and objectives be reported?
       Every Grading Period
       Other




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  Student Name: Ke'aujanaa Janielle Shepherd-Friday                                                                       IEP Date: 05/13/2021

                                                      GOALS AND OBJECTIVES
  Area of Need: Mathematics                                             Subarea: Math Problem Solving




  Annual Goal:
  By May of 2022, Ke'aujanaa will increase her math problem solving abilities, when looking at a set income amount, by creating a
  budget, related to estimating college costs/expenses, from 0% to 50%, by completing an online budgeting pro le.

 Will a graph be used to report progress toward the annual goal and associated objectives/benchmarks?                 Yes       No


 Short-Term Instructional Objectives/Benchmarks:
                     Objectives/Benchmarks                            Criteria                 Evaluations                     Schedule
         By October 2021, Ke'aujanaa will increase her
         math problem solving abilities by creating a                                        Online budgeting
       1                                                                20%                                               each marking period
         budget, related to estimating college                                                    pro le
         costs/expenses, from 0% to 20%.
         By February 2022, Ke'aujanaa will increase her
         math problem solving abilities by creating a                                        Online budgeting
       2                                                                40%                                               each marking period
         budget, related to estimating college                                                    pro le
         costs/expenses, from 0% to 40%.
         By May 2022, Ke'aujanaa will increase her math
         problem solving abilities by creating a budget,                                     Online budgeting
       3                                                                50%                                               each marking period
         related to estimating college costs/expenses,                                            pro le
         from 0% to 50%.
       4


 Sta       Responsible for Goal: Teacher Consultant

 How will progress on goals and objectives be reported
       Progress Reporting-Text Option
       Progress Reporting-Other Option (Specify):

 Comments:

 When will progress on goals and objectives be reported?
       Every Grading Period
       Other




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5/20/2021                                  Individualized Education Program for Ke'aujanaa Shepherd-Friday (7298581448)

  Student Name: Ke'aujanaa Janielle Shepherd-Friday                                                                       IEP Date: 05/13/2021

                                                     GOALS AND OBJECTIVES
  Area of Need: Medical/Health/Physical                                 Subarea: Self Advocacy




  Annual Goal:
  By May 2022, Ke'aujanaa will increase her self advocacy skills, related to her needs within the school environment, related to her
  illness by sharing the information with her school social worker and requesting accommodations when needed from 0% to 60%.

 Will a graph be used to report progress toward the annual goal and associated objectives/benchmarks?                 Yes       No


 Short-Term Instructional Objectives/Benchmarks:
                     Objectives/Benchmarks                            Criteria                 Evaluations                     Schedule
         By October 2021, Ke'aujanaa will increase her
         self advocacy skills, related to her needs within
         the school environment, related to her illness
       1                                                                20%              Sta and student report           each marking period
         by sharing the information with her school
         social worker and requesting accommodations
         when needed from 0% to 20%.
         By January 2022, Ke'aujanaa will increase her
         self advocacy skills, related to her needs within
         the school environment, related to her illness
       2                                                                35%              Sta and student report           each marking period
         by sharing the information with her school
         social worker and requesting accommodations
         when needed from 0% to 35%.
         By May 2022, Ke'aujanaa will increase her self
         advocacy skills, related to her needs within the
         school environment, related to her illness by
       3                                                                60%              Sta and student report           each marking period
         sharing the information with her school social
         worker and requesting accommodations when
         needed from 0% to 60%.
       4


 Sta       Responsible for Goal: SE Teacher, School Social Worker

 How will progress on goals and objectives be reported
       Progress Reporting-Text Option
       Progress Reporting-Other Option (Specify):

 Comments:

 When will progress on goals and objectives be reported?
       Every Grading Period
       Other




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5/20/2021                                  Individualized Education Program for Ke'aujanaa Shepherd-Friday (7298581448)

  Student Name: Ke'aujanaa Janielle Shepherd-Friday                                                                       IEP Date: 05/13/2021

                                                     GOALS AND OBJECTIVES
  Area of Need: Socio-Emotional/Behavioral                              Subarea: Anxiety




  Annual Goal:
  By May 2022, Ke'aujanaa will improve her ability to de ne a variety of calming strategies when presented with a multiple choice
  activity from 0% to 60% accuracy.

 Will a graph be used to report progress toward the annual goal and associated objectives/benchmarks?                 Yes       No


 Short-Term Instructional Objectives/Benchmarks:
                     Objectives/Benchmarks                            Criteria                 Evaluations                     Schedule
         By October 2021, Ke'aujanaa will improve her
         ability to de ne a variety of calming strategies
       1                                                                20%               Multiple choice acitivty        each marking period
         when presented with a multiple choice activity
         from 0% to 20% accuracy.
         By January 2022, Ke'aujanaa will improve her
         ability to de ne a variety of calming strategies
       2                                                                35%               Multiple choice acitivty        each marking period
         when presented with a multiple choice activity
         from 0% to 35% accuracy.
         Ke'aujanaa will improve her ability to de ne a
         variety of calming strategies when presented
       3                                                                45%               Multiple choice acitivty        each marking period
         with a multiple choice activity from 0% to 45%
         accuracy.
       4


 Sta       Responsible for Goal: SE Teacher, School Social Worker

 How will progress on goals and objectives be reported
       Progress Reporting-Text Option
       Progress Reporting-Other Option (Specify):

 Comments:

 When will progress on goals and objectives be reported?
       Every Grading Period
       Other




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5/20/2021                                  Individualized Education Program for Ke'aujanaa Shepherd-Friday (7298581448)

  Student Name: Ke'aujanaa Janielle Shepherd-Friday                                                                       IEP Date: 05/13/2021

                                                      GOALS AND OBJECTIVES
  Area of Need: Transition (age 16+)                                    Subarea: Transition




  Annual Goal:
  By May 2022, Ke'aujanaa will partner with a peer to use basic math skills, in order to use comparison shopping techniques, in
  75% of trials, as shown by teacher created assignments.

 Will a graph be used to report progress toward the annual goal and associated objectives/benchmarks?                 Yes       No


 Short-Term Instructional Objectives/Benchmarks:
                     Objectives/Benchmarks                            Criteria                 Evaluations                     Schedule
           Ke'aujanaa will be able to use percentages to                                     teacher created
       1                                                                75%                                               each marking period
           comparison shop.                                                                    assignments
           Ke'aujanaa will be able to successfully use a                                     teacher created
       2                                                                75%                                               each marking period
           calculator to assist her in comparison shopping.                                    assignments
       3
       4


 Sta       Responsible for Goal: Teacher Consultant

 How will progress on goals and objectives be reported
       Progress Reporting-Text Option
       Progress Reporting-Other Option (Specify):

 Comments:

 When will progress on goals and objectives be reported?
       Every Grading Period
       Other




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5/20/2021                                  Individualized Education Program for Ke'aujanaa Shepherd-Friday (7298581448)

  Student Name: Ke'aujanaa Janielle Shepherd-Friday                                                                       IEP Date: 05/13/2021

                                                      Programs and Services
  Service Mode: The primary mode of delivery for related services may be consultative or direct.
      • Consultative Service - involves working indirectly with a student by supporting teachers and other instructional sta
        members who work daily with the student. The service provider may occasionally work directly with the student.
      • Direct Service - involves working directly with the student. The service provider may occasionally consult with instructional
        sta members who work with the student daily.
        Related services may be provided in the context of general education, and/or special education programs and/or
        separately.
  Related Service Schedule: The minutes, sessions, and frequency of related services will be provided as documented below
  except when the week or month is shortened due to holiday, school cancellation or student absence.
  Start Date/End Date: All programs and services listed will begin on the implementation date of the IEP and continue for one
  calendar year following the school district’s approved calendar.
  Departmentalized Program: The student’s special education program will be provided by more than one special education
  teacher with instruction typically divided by subject/content area.
  Current IEP Year: From Date 05/13/2021                                                      To Date: 05/12/2022
  School Year: 2020-21                                                                        School Year: 2021-22
  Grade: Twelfth grade                                                                        Grade: Twelfth grade
  Related Services Start Date End Date              Service Mode             Minutes            Sessions          Frequency Setting within
                                                                          Low     High     Low    High                        Location
                                                                          Min.    Min.    Number Number
  School Social       05/13/2021 05/12/2022         Direct              15       30      2             4          Month        Home
  Worker                                            Consultative
  Teacher             05/13/2021 05/12/2022         Direct              15       45      1             2          Month        Home
  Consultant - LD                                   Consultative
             Programs                Depart- Start Date End Date              Bldg/Location                SE       GE        Total Frequency
                                    mentalized                                                    Low High Low High Min
                                                                                                  Min Min Min Min
  Elementary or Secondary-Level        Y     N   05/13/2021 05/12/2022 Comstock                   30       400        1535 1565 Week
  Resource Program                                                     Compass High
                                                                       School


     Yes     No Based on a careful consideration of this student’s unique, disability-related needs, the IEP Team has
                determined that the student requires a shortened school day for the following reason:
                  The IEP Team has a physician statement verifying this student’s need for and duration of a shortened school day:
                     Yes     No
  Explain the extent, if any, that the student will not participate with nondisabled peers.
  When on campus Ke'aujanaa will be able to participate with her non-disabled peers at all times, with the exception of the time
  she receives assistance from her special education teacher, social worker, and teacher consultant.

  Compensatory education was also discuss with the family. Mom and the student are going to get the district a schedule of times
  and dates that work for them. The districts goal is to do this over the summer and provide 2 weeks of programming per week for
  8 weeks. Until she reaches 15 hours.




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5/20/2021                                  Individualized Education Program for Ke'aujanaa Shepherd-Friday (7298581448)

  Student Name: Ke'aujanaa Janielle Shepherd-Friday                                                                       IEP Date: 05/13/2021

                                                    OTHER CONSIDERATIONS
  TRANSPORTATION PROVISIONS

  Has the IEP Team determined that the student requires special transportation?

      No, transportation is not required or general education transportation is su cient to meet Ke'aujanaa's needs.

  EXTENDED SCHOOL YEAR SERVICES

      The IEP Team has considered the anticipated needs of this student including the need for
  extended school year (ESY) services
      ESY services are needed

  ANTICIPATED NEEDS AND OTHER COMMENTS

  Other Comments related to this IEP:
  This IEP was held virtually, due to Covid-19 protocols.

  The team has created a phone log, in order to track contact, per mom's concern about contacts.

  During the meeting, Mr. Birchmeier, signed her up for the Summer Success Camp.

  Mom's IEP is: shepherdn@mail.com




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5/20/2021                                    Individualized Education Program for Ke'aujanaa Shepherd-Friday (7298581448)

                                                     Comstock Public Schools
                             NOTICE REGARDING PROVISION OF SPECIAL EDUCATION
                                                           STUDENT INFORMATION
 Student: Ke'aujanaa Janielle Shepherd-Friday                             Date of IEP Team Meeting: 05/13/2021
 Birthdate: 07/15/2002                                                    Resident District for Purpose of FAPE: Comstock
 Age: 18-10                                                               Student Primary Language:
 Grade: Twelfth grade                                                     Language in the Home: English
                                                                    PURPOSE
 This notice is a result of the Individualized Education Program (IEP) Team meeting that was held on the date listed above for the
 following purpose(s):

     Primary Purpose: Annual Review                                       Additional Purpose:

 NOTICE FOR PROVISION OF PROGRAMS AND SERVICES
   You are receiving this notice because, based upon the most recent IEP Team meeting, Ke'aujanaa remains eligible for special
   education programs/services. Upon district signature, this notice and Ke'aujanaa's IEP constitute the district’s o er of a Free
   Appropriate Public Education (FAPE).

            All programs/services/supplementary aids will start on: 05/13/2021
            The following person will assure implementation of this IEP: Building Administrator

                                                      OPTIONS CONSIDERED
 The IEP Team Report describes the assessment/evaluation procedures and data used during the IEP Team meeting. The following
 options were considered but not selected for the reason(s) indicated below:

                            Considered Options                                                   Reasons Not Selected
                                                                               Ke'aujanaa is able to communicate her own needs at this
        Communication needs                                                    time.
                                                                               Other options are available at this time. Comstock is o ering
                                                                               a Summer Success Camp, and she is currently enrolled in
        ESY                                                                    that.
                                                                               Ke'aujanaa does not requires these services in order to
        Need for assistive technology devices and services.                    participate in the general education setting.
                                                                               The team and Ke'aujanaa feels a full evaluation is necessary
                                                                               at this time. This process will be in the Fall of 2021. No need
        Using the previous evaluation data                                     for anxiety testing at this time.

 Other relevant factors to the district’s proposal or refusal:
    None.


                                                           RESOURCES FOR PARENTS
 The Resources for Parents Include:
 ARC (Resources and Advocacy for Parents):
 Allegan: (269) 673-8841
 Kalamazoo/Van Buren: (269) 342-9801

 Mediation:
 Allegan: (616) 399-1600
 Kalamazoo: (269) 552-3434
 Van Buren: (269) 982-7898

 Additional Resources:
 Ask Family Services: (269) 343-5896

 For additional assistance please contact:
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 Allegan Area Educational Service Agency (AAESA): (269) 512-7700
 Kalamazoo Regional Educational Service Agency (KRESA): (269) 250-9323
 Van Buren Intermediate School District (VBISD): (269) 674-8091

 The Procedural Safeguards that you received describes protections under the Individuals with Disabilities Education Act (IDEA).
 Information is also available from:

      MICHIGAN ALLIANCE FOR FAMILIES, 1819 South Wagner Road, PO Box 1406, Ann Arbor, MI 49106; 1-800-552-4821;
      www.michiganallianceforfamilies.org

      MICHIGAN DEPARTMENT OF EDUCATION, OFFICE OF SPECIAL EDUCATION AND EARLY INTERVENTION SERVICES, PO Box
      30008, Lansing, MI 48909; 1-517-373-0923; www.michigan.gov/mde

      MICHIGAN PROTECTION AND ADVOCACY, 4095 Legacy Parkway, Suite 500, Lansing, MI 48911-4263; 1-800-288-5923;
      www.mpas.org

                                                                SIGNATURES
 DISTRICT COMMITMENT
    The school district superintendent/designee assures that the least restrictive environment has been fully considered and
    assigns this student to the following:
            The resident district
            An operating district
 Operating District: Comstock
 Building/Program: Comstock Compass High School
            The resident district authorizes the operating district to conduct subsequent IEP Team meetings.
            The operating district was previously authorized by the resident district to conduct subsequent IEP Team meetings.



  Operating District
  Superintendent/Designee:                                                           Date: 05/13/2021




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